Case 9:95-cr-08089-CMA Document 1443 Entered on FLSD Docket 10/26/2010 Page 1 of 5
Case 9:95-cr-08089-CMA Document 1443 Entered on FLSD Docket 10/26/2010 Page 2 of 5
Case 9:95-cr-08089-CMA Document 1443 Entered on FLSD Docket 10/26/2010 Page 3 of 5
Case 9:95-cr-08089-CMA Document 1443 Entered on FLSD Docket 10/26/2010 Page 4 of 5
Case 9:95-cr-08089-CMA Document 1443 Entered on FLSD Docket 10/26/2010 Page 5 of 5
